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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S POST-TRIAL
                    a Delaware corporation,                       REPLY BRIEF
           20
                                       Plaintiffs,
           21
                          v.                                      Trial: Nov. 5, 2024
           22                                                     Hearing: February 3, 2025
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
           26                            REDACTED VERSION OF DOCUMENT
           27                            PROPOSED TO BE FILED UNDER SEAL
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             1                                         INTRODUCTION
             2            Plaintiffs’ post-trial brief underscores the fundamental flaws in their case: The
             3      alleged trade secrets are not actual trade secrets, and no thread ties any secret information
             4      they possessed to either (1) the suggestions Dr. Lamego made at Apple or (2) any
             5      technologies used in Apple Watch. Dr. Lamego did not transmit any secret information
             6      possessed by Plaintiffs to Apple, and Apple did not use any such information. This is,
             7      in short, a trade secret case with no secrets and no misappropriation.
             8            Plaintiffs try to gloss over those deficiencies with overheated rhetoric, shape-
             9      shifting treatment of the “secrets,” inapposite references to commonplace technical
           10       terms (like “crosstalk” and “demodulation”) in Apple documents, and improper burden-
           11       shifting—but Plaintiffs cannot escape the trial record. There is no evidence that Apple
           12       “coveted” the idea of                                     , using a single short circuit, or
           13       employing a demodulation algorithm that Apple quickly determined was unsuitable for
           14       a consumer wearable device. And the trial record firmly disproved that Apple acquired,
           15       used, or disclosed anything Plaintiffs maintained as an actual trade secret.
           16             Six Apple witnesses, Dr. Lamego, and Apple’s two independent technical experts
           17       testified consistently and credibly that (1) Apple never sought, used, or disclosed
           18       Plaintiffs’ confidential information, (2) Dr. Lamego did not disclose any such
           19       information to Apple, (3) Apple independently developed its black foam quality control
           20       test and short-circuit to supply, and (4) Dr. Lamego’s demodulation suggestion was
           21       never used in Apple Watch.
           22             Plaintiffs’ misappropriation case accordingly rests on attorney argument, a
           23       handful of irrelevant or out-of-context documents, and a single expert witness (Dr.
           24       Madisetti) whose testimony was not credible for many reasons—and who was forced to
           25       make key concessions, including under questioning from the Court. Apple respectfully
           26       submits that the Plaintiffs did not come anywhere close to meeting their burden to prove
           27       trade secret misappropriation—or patent inventorship/ownership—and that it is time to
           28       finally reject these claims and bring this portion of the case to a close.

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             1                                              ARGUMENT
             2      I.       PLAINTIFFS HAVE NOT PROVEN THAT THEY POSSESSED, LET ALONE THAT
             3               APPLE MISAPPROPRIATED, ANY PROTECTABLE TRADE SECRET
             4               A.     Plaintiffs Have Not Made Out A CUTSA Claim For L4
             5               Plaintiffs’ brief underscores that (1) they did not possess L4 as they defined it, (2)
             6      the version of L4 they did possess was generally known, and (3) nothing connects what
             7      Plaintiffs actually possessed to
             8
             9               1. No Possession. Plaintiffs presented no evidence that they possessed the aspect
           10       of L4 requiring
           11                                            . Dkt. 2447 (Apple’s Post-Trial Brief (“A-PT Br.”)) at
           12       7-8. Plaintiffs do not dispute that Dr. Madisetti offered no opinion that Plaintiffs
           13       possessed                       . Instead, Plaintiffs (at 8) merely point to testimony from
           14       Mr. Dalke and Mr. Poeze that Plaintiffs’
           15                                                                But that is irrelevant; L4 requires
           16
           17                                                                              Madisetti Direct ¶ 82;
           18       Warren Direct ¶¶ 36-38.1          Neither witness offered any evidence to prove those
           19       requirements. Rather, both confirmed that Plaintiffs
           20                                                             . A-PT Br. 7. Mr. Poeze testified
           21                                                                                11/6 AM Tr. 13:10-
           22       12, and Mr. Dalke conceded that he knew so little about light piping that he was “not
           23       comfortable discussing” it, id. at 35:25-36:7.
           24                Plaintiffs try to sidestep this failure of proof by arguing (at 8) that they need not
           25       possess all of L4, as they defined it. But Plaintiffs’ attempt to discard L4’s
           26                      cannot be squared with this Court’s ruling that Plaintiffs cannot “modify …
           27       trade secret disclosures … when a case goes to trial.” Dkt. 1898 at 7-8. Plaintiffs’ cited
           28       1
                        Emphasis added—and internal quotation marks omitted—unless otherwise noted.
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             1      cases do not suggest a different conclusion, as the defendant in Masimo Corp. v. True
             2      Wearables, Inc., 2022 WL 17083396, at *10-11 (C.D. Cal. Nov. 7, 2022), did not contest
             3      the propriety of Plaintiffs’ unprecedented partial possession theory, and the other two
             4      cases do not address the possession element, Bianco, M.D. v. Globus Med., Inc., 2014
             5      WL 5462388, at *7 (E.D. Tex. Oct. 27, 2014) (misappropriation); Infospan, Inc. v.
             6      Emirates NBD Bank PJSC, 2016 WL 8849699, at *14 (C.D. Cal. June 8, 2016)
             7      (remedies). This Court concluded in 2023 that L4 survived JMOL on possession only
             8      because there was a “factual dispute” over “whether Masimo possessed the                    ’
             9      component of L4;” the Court did not adopt Plaintiffs’ assertion (repeated now) that they
           10       could rewrite L4 at trial to                                   . See Dkt. 1901 at 5 (FRCP
           11       50(b) decision); cf. Dkt. 1812 at 2 (Plaintiffs’ FRCP 50(b) opposition citing True
           12       Wearables and Bianco).2
           13                2. Generally Known. Plaintiffs—not Apple—have the burden to prove that their
           14       purported trade secrets were not generally known. See Cal. Civ. Code § 3426.1(d)(1).
           15       Plaintiffs have not come close to satisfying that burden, nor could they, because the
           16       common-sense methodology in L4—
           17                                                                          —was generally known.
           18       Plaintiffs offered no witness who assessed the public’s or the industry’s knowledge of
           19       L4, as required, see Atmel Corp. v. Info. Storage Devices, Inc., 189 F.R.D. 410, 416
           20       (N.D. Cal. 1999). Rather, the only witness to testify on that front was Apple’s expert,
           21       Professor Warren, who testified that this purportedly secret methodology was generally
           22       known, including because it was disclosed in Nellcor’s 2008 Petersen patent. A-PT Br.
           23       8-12. Plaintiffs tellingly chose not to put on any rebuttal case in response.
           24                Having failed to put forward meaningful affirmative evidence, Plaintiffs argue
           25       only that (1) Plaintiffs purportedly kept L4 secret, (2)
           26                                                                            , and (3) in Mr. Kiani’s
           27
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                     Plaintiffs also cannot reconcile their shifting interpretation of L4 with a plaintiff’s
           28       burden to define alleged trade secrets with sufficient particularity. See A-PT Br. 13-14.
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             1      and Mr. Diab’s subjective view (which only considers technology from 1995 or earlier),
             2                                                         . Dkt. 2429 (Plaintiffs’ Post-Trial Brief
             3      (“P-PT Br.”)) at 8. The first point largely speaks to a different element—whether
             4      Plaintiffs took reasonable efforts to maintain secrecy, Cal. Civ. Code § 3426.1(d)(2)—
             5      and says nothing about whether competitors or other interested parties were aware of L4
             6      from other sources. The second and third points speak only to the general concept of
             7                              —not whether L4 specifically was generally known. Plaintiffs do
             8      not dispute that light piping itself was long known, P-PT Br. 18 (“[l]ight piping in
             9      general is not L4”); 11/5 AM Tr. [Kiani] 105-106 (
           10                                                    ), and
           11                                                                          11/5 PM Tr. 65:16-25.3
           12                Unable to meet their burden, Plaintiffs level unsupported attacks on the evidence
           13       offered by Apple. First, Plaintiffs allege that “Apple does not identify any publication
           14       disclosing all of L4” in one place. P-PT Br. 9; see also id. at 15, 25, 29 (similar for L5,
           15       D1, and D3). Plaintiffs’ premise is that a single reference must disclose the entirety of
           16       an alleged secret—but this Court has already held Apple’s experts could rely on multiple
           17       publications to rebut Plaintiffs’ “generally known” showing. Compare Dkt. 1174 at 8-
           18       9 (Plaintiffs’ Daubert motion) and P-PT Br. 9, 15 (citing same case law as Daubert
           19       motion) with Dkt. 1284 at 5-6 (Daubert ruling). Regardless, Apple did identify a single
           20       publication disclosing all of L4 as possessed by Plaintiffs: the Petersen patent, which
           21       describes
           22                                                                             . See A-PT Br. 8-12.
           23                Plaintiffs’ brief (at 10-11) does not dispute that Petersen “discloses
           24
           25       3
                     Plaintiffs make no attempt to show that L4’s                  was not generally known.
           26       4
                     Plaintiffs’ proposed finding (¶ 120) that “Petersen discloses ‘placing false tissue on the
                    sensor’ …
           27                                                                          See JTX-3778 at 6:20-
                    29 (“[T]he false tissue should absorb the light that impinges on it so that any signal
           28       detected by the detector … may be attributed to shunting.”).
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             1
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             3    See JTX- 3778 at 3:51-57, 7:18-29; Warren Direct ¶ 50; Dkt. 2448 (Apple’s Post-Trial
             4    Proposed Findings of Fact and Conclusions of Law) (“AF-C”)) ¶ 52; see also 11/13 Tr.
             5    [Warren] 115:10-25
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           11
           12                                                                           A-PT Br. 9-10.5
           13              Second, Plaintiffs wrongly argue (at 9, 15, 25, 29) that Apple had to show that
           14     each of Professor Warren’s references was “well known.” Again, Plaintiffs—not
           15     Apple—bear the burden on this issue; this Court long ago rejected Plaintiffs’ argument
           16     that Apple’s witnesses were required to quantify the degree to which a particular
           17     reference is well known. Dkt. 1284 at 6. Regardless, Petersen—and all other references
           18     Professor Warren relied on beyond the “very well known” Webster textbook—are
           19     patents, and it is well-established that “information disclosed in a patent is generally
           20     known to the public for purposes of the CUTSA.” See, e.g., Masimo Corp. v. True
           21     Wearables, Inc., 2022 WL 205485, at *3 (Fed. Cir. Jan. 24, 2022); see also Dkt. 1715 at
           22     29-30 (“Generally, publication of information in a patent or a patent application makes
           23     it generally known to the public … and so eliminates any trade secrecy.”).
           24              Third, Plaintiffs argue a particular                             they have used
           25     was not generally known. P-PT Br. 10-11; Dkt. 2430 (Plaintiffs’ Post-Trial Proposed
           26
                  5
                   Plaintiffs offer no real explanation for why the other patents Apple cited in its opening
           27     brief do not disclose L4’s constituent parts. Their suggestion (PFF ¶ 140) that the 1995
                  and 2001 Masimo patents are irrelevant simply because Masimo owns them
           28     misunderstands the law. See A-PT Br. 10.
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             1    Findings of Fact) (“PFF”) ¶¶ 114-123. But L4 recites                                       .
             2    Plaintiffs “may not defend against challenges to [their] trade secret by arguing that a
             3    further ‘secret’ lies behind the alleged trade secret as defined and disclosed and that
             4    further secret is what has been misappropriated.” Dkt. 1898 at 8.
             5          3. Insufficient Efforts To Preserve Secrecy. Plaintiffs failed to prove they made
             6    reasonable efforts to maintain L4’s secrecy. A-PT Br. 14. Plaintiffs’ argument (at 7)
             7    rests almost entirely on general evidence about their corporate information security
             8    policies.   Professor Warren, however, testified that Plaintiffs’ disclosures of L4’s
             9    teachings in their own Mason 2006 and Diab 2008 patents show that Plaintiffs did not
           10     protect the specific information alleged to be a trade secret. See Warren Direct ¶¶ 60-
           11     64. Plaintiffs’ only response (at 11) is to assert that “those patents [do not] disclose
           12                                    But as Professor Warren testified, implicit in a disclosure
           13     that Plaintiffs possessed ways
           14                            . See, e.g., 11/13 Tr. [Warren] 81:25-83:2, 84:25-85:24. No more
           15     specific disclosure is required to show Plaintiffs’ lack of reasonable efforts, particularly
           16     since L4 itself                                                            . See, e.g., 11/6
           17     PM Tr. [Madisetti] 77:6-78:17 (agreeing that
           18                                                      .
           19           4. No Improper Acquisition/Disclosure/Use. Plaintiffs have failed to connect
           20     the dots between Plaintiffs’ purported possession of L4, Dr. Lamego, and Apple’s
           21     accused black foam test. The uncontroverted evidence establishes that by November
           22     2013—months before Dr. Lamego was hired—Apple engineers had already designed
           23
           24                                   . See AF-C ¶¶ 69-79; A-PT Br. 15-18.
           25           While Plaintiffs do not directly address Apple’s independent development of that
           26     November 2013 test, they appear to contend (at 11) that the test did not practice L4
           27     because it did not                                                                    . But
           28     nothing in L4 specifies

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             9                                 and is another improper attempt by Plaintiffs to rewrite the
           10     controlling definitions of their purported trade secrets. See, e.g., A-PT Br. 12-14; Dkt.
           11     2345 at 8-9.6 But Plaintiffs cannot now narrow the scope of L4. See Dkt. 1898 at 8.
           12     Indeed, if Plaintiffs believed a key aspect of L4 was
           13             “they could have written their § 2019(d) statement to reflect” that requirement. Id.
           14              In any event, Plaintiffs identify no evidence linking Dr. Lamego to Apple’s
           15     decision to                                                                     . Mr. Land
           16     and Dr. Block testified under oath there was no such connection and explained Apple
           17     was always aware that
           18                                                 . See Block Direct ¶ 24; Land Direct ¶ 42. This
           19     is an obvious, common-sense idea akin to
           20
           21                                                       . Although Plaintiffs attempt (at 10) to
           22     dismiss this analogy
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           26              Because Plaintiffs cannot even tie Dr. Lamego to black foam, they again try to
           27     6
                      Even Dr. Madisetti initially agreed t
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             1    shift their burden to Apple. Plaintiffs primarily rely on a single document authored by
             2    Dr. Lamego, which mentions (among 24 other suggestions)
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           10                                                         , see JTX-3707 at Abstract.7 Plaintiffs
           11     do not come close to carrying their burden to show otherwise or explain how the 4 words
           12                                               supposedly convey the nearly 70 words that
           13     define L4. Tellingly, while Plaintiffs’ proposed findings state that “significant evidence
           14     supports the
           15     Plaintiffs do not provide a single record citation to back up that assertion. PFF ¶ 265.
           16              Next, Plaintiffs argue (at 12) that Dr. Lamego could have secretly been behind
           17     Apple’s use of a                            because Mr. Land testified that he could not
           18     rule out that Dr. Lamego had discussed it with another team member. 11/12 PM Tr.
           19     [Land] 21:8-12 (Land agreeing that he “do[es] not have first-hand knowledge of every
           20     conversation Marcelo Lamego had at Apple”). This is improper burden shifting, as it is
           21     Plaintiffs’ obligation to prove Dr. Lamego did suggest the                                 .
           22     Regardless, Mr. Land confirmed the decision was made by members of his team (which
           23     includes Dr. Block) working in conjunction with the Hardware Test Engineering and
           24     Reliability teams after they identified
           25                               AF-C ¶ 83. And both Mr. Land and Dr. Block were unequivocal
           26
                  7
                      As Professor Warren explained,
           27
           28

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             1    that Dr. Lamego had no involvement in the decision. A-PT Br. 16-17; AF-C ¶ 82.
             2          The evidence Plaintiffs claim (at 12) “points to Lamego” boils down to (1) Dr.
             3    Lamego receiving one email along with 38 other Apple employees, JTX-1063, and
             4    another sent to 14 other Apple employees, JTX-45, and (2) Dr. Lamego hiring and
             5    working with Dr. Guocheng Shao, who in turn worked on
             6
             7                      see 11/13 Tr. [Block] 10:4-11:21; JTX-1066 (email chain dated
             8    May/June 2015). The clear implication of the trial record is that—just as Mr. Land, Dr.
             9    Block, and Professor Warren
           10
           11
           12                      , and Dr. Lamego had nothing to do with it. A-PT Br. 15-18, 35-36.
           13           The only witness who offered a contrary theory was Dr. Madisetti, whose
           14     testimony was deeply flawed. The testimony of Dr. Madisetti, who has testified against
           15     Apple on numerous occasions, 11/6 PM Tr. 59-60, held himself out as an expert on an
           16     expansive variety of unrelated technical subjects, see id. 60-62, and who repeatedly
           17     evaded questions at trial—resulting in multiple admonitions from the Court, see, e.g.,
           18     11/7 AM Tr. 46, 52, 104—cannot satisfy Plaintiffs’ burden.
           19           Finally, Plaintiffs assert
           20
           21                                                                                        P-PT
           22     Br. 13 (citing JTX-1064 and JTX-1078). But Plaintiffs cite no evidence that
           23
           24            Dr. Madisetti was unable to link
           25                                           , and Mr. Land and Dr. Block testified
           26                                          , A-PT Br. 18-19; see AF-C ¶¶ 94-95.
           27           Plaintiffs also raise a new theory about JTX-1064—i.e.,
           28

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             1                                  . P-PT Br. 13. Plaintiffs cite nothing beyond JTX-1064’s
             2    (cryptic) text for their undisclosed attorney argument that t
                                                              8
             3                                                    Contrary to Plaintiffs’ new theory, both Mr.
             4    Land and Dr. Block confirmed
             5                                               AF-C ¶¶ 91-92. Apple does not
             6
             7                                                                               Id. ¶ 90.9
             8             B.     Plaintiffs Have Not Made Out A CUTSA Claim For L5
             9             After five years and two trials, Plaintiffs continue to engage in shape-shifting on
           10     the scope of L5, but Plaintiffs cannot prevail on any of their varying interpretations.
           11
           12
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           18
           19     Apple has thus never used L5, either as possessed by Plaintiffs, or as written.
           20              1. No Possession Or Particularity.            Plaintiffs’ new assertion that L5
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           22
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                  8
           24         The only substantive testimony on this text in JTX-1064 is from Dr. Block, who
           25
                  9
                      Plaintiffs’ suggestion (at 13)
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           27
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             1          Plaintiffs’ remarkable new position—that they “obviously need not possess every
             2    solution [to L5]” because L5 “is not limited to a particular solution,” P-PT Br. 20—
             3    cannot be squared with CUTSA’s requirement that Plaintiffs “must prove that they …
             4    lawful[ly] possess[ed L5] … at the time of the asserted misappropriation,” Dkt. 1715 at
             5    27. “The sine qua non of a trade secret … is the plaintiff’s possession of information of
             6    a type that can, at the possessor’s option, be made known to others, or withheld from
             7    them[.]” Altavion Inc. v. Konica Minolta Sys. Lab. Inc., 226 Cal. App. 4th 26, 56
             8    (2014).10 Plaintiffs have previously (and successfully) argued that trade secret law
             9    requires “possessing the trade secret and having the right to prevent dissemination.”
           10     Dkt. 1188 at 9-10; Dkt. 1283 at 3-4. A trade secret plaintiff cannot logically exercise a
           11     “right to control the dissemination of information,” Dkt. 1283 at 4, when it did not have
           12     that information in the first place. This alone is enough to rule against Plaintiffs on L5.
           13           Tacitly recognizing L5’s fatal flaws as written, Plaintiffs suggest the Court rewrite
           14     L5—an approach this Court has rejected. See supra p. 2, 5-6. For example, Plaintiffs
           15     suggest (at 16, 20) that this Court could narrow L5
           16                                This would be inconsistent with Dr. Madisetti’s testimony and
           17     L5’s plain text                                                            —and it would
           18     wrongly give Plaintiffs ownership of an idea known for 50 years, see infra pp. 12-13.
           19           Plaintiffs make these extreme arguments because they failed to show possession
           20
           21                                                                        . Plaintiffs concede that
           22     Mr. Dalke and Mr. Smith only became
           23
           24
           25                                                              Plaintiffs contend that Mr. Dalke
           26
                  10
                    Plaintiffs rely on Altavion (at 20-21), but the asserted trade secret there was limited to
           27     “particular design concepts” underlying Altavion’s “digital stamping technology.” 226
                  Cal. App. 4th at 34, 47. Altavion does not suggest that the trade secret was defined as
           28     the problem identified by those design concepts and all solutions to that problem.
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             1
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             4
             5                                                                                             That
             6    should end the inquiry, as Plaintiffs concede L5 requires
             7                                                                                              .
             8          Plaintiffs’ case also fails for an independent reason—they have not shown L5 has
             9    sufficient particularity. Plaintiffs’ claim to
           10                                           , 11/7 AM Tr. [Madisetti] 106:13-107:7, is no more
           11     specific than the vague “dimensions and tolerances” trade secret disclosure that the
           12     Ninth Circuit rejected as insufficiently particular, see Imax Corp. v. Cinema Techs., Inc.,
           13     152 F.3d 1161, 1167 (9th Cir. 1998).
           14           2. Generally Known. To carry their burden to prove L5 was not generally
           15     known, Plaintiffs rely on the same kind of deficient evidence they advanced in support
           16     of L4—i.e., an assertion that Plaintiffs kept L5 secret and references to the supposed
           17     value of products that purportedly use L5, rather than anything inherent to L5 itself.
           18     Compare A-PT Br. 14-15 with supra pp. 3-5. Plaintiffs also cite (at 14) the purported
           19
           20
                                 11
           21                         In fact, several Apple witnesses (who have never read the purported
           22     trade secrets) testified that
           23
           24                                                                                          .
           25           Regardless, Apple and Professor Warren affirmatively demonstrated that—based
           26     on the Mims, Roedel, and Webster references—it has been generally known for decades
           27     11
                    For that reason, Plaintiffs cannot prove the broader industry was unaware of the
                                                         merely by citing (at 14) an email chain between
           28     two Apple engineers (JTX-541).
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             1
             2                                        . A-PT Br. 21-22. Plaintiffs’ brief does not mention
             3    any of these three references—an omission explainable by the dearth of evidence
             4    supporting their positions, Dr. Madisetti’s conclusory trial analysis (merely marking
             5    “NO” in a chart), and Plaintiffs’ failure to put on a rebuttal case.12 Instead, Plaintiffs
             6    rest on the same erroneous legal arguments addressed above (i.e., that Apple supposedly
             7    cannot rely on multiple references and must demonstrate the degree to which references
             8    are known generally). See supra pp. 4-5. Plaintiffs also offer no response to Professor
             9    Warren’s unrebutted testimony that Webster
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           14                                                            .
           15              Plaintiffs’ brief addresses only Dalke 2006, a Masimo patent that (as explained)
           16     discloses all of L5 as possessed by Plaintiffs—                                         A-PT
           17     Br. 21-22. But Plaintiffs mislead by asserting that
           18
           19                  P-PT Br. 15 (emphasis in original). In reality, Masimo
           20
           21
           22                                                                            JTX-4233 at 16:39-43;
           23     AF-C ¶¶ 125-127, 338. And while Plaintiffs offer attorney argument (at 15) that Dalke
           24     2006 does not disclose L5,
           25
           26     12
                       In portions of the Proposed Findings of Fact not cited anywhere in Plaintiffs’ brief,
           27
           28

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             1           3. Insufficient Efforts To Preserve Secrecy. Plaintiffs cannot show reasonable
             2    efforts to protect secrecy when they published the entirety of L5 in the Dalke 2006
             3    patent. AT-Br. 22-23. Indeed, Mr. Smith admitted that Plaintiffs made no efforts to
             4    maintain the secrecy of                                  . Id. Plaintiffs’ only response (at
             5    15-16) is to again incorrectly assert Dalke 2006 does not describe L5.
             6           4. No Acquisition/Disclosure/Use. Plaintiffs failed to prove Apple improperly
             7    used, disclosed, or acquired L5 as they possessed it. The evidence instead establishes
             8    that
             9
           10
           11                          Plaintiffs’ brief never contends that Dr. Lamego said Apple should
           12                          —he did not—and ignores Dr. Madisetti’s admission, when examined
           13     by the Court, that
           14                                                                                              See
           15     11/7 AM Tr. 104:3-105:24. The arguments Plaintiffs do make are meritless.
           16            First, Plaintiffs wrongly suggest (at 17) that
           17
           18
           19
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           21                    Numerous Apple witnesses also confirmed
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           23
           24                               And while Plaintiffs criticize Dr. Block (at 17) for stating that
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             1
             2          Second, Plaintiffs erroneously contend (at 16-17) that Dr. Lamego actually
             3                                             and that Apple “followed” his recommendation
             4                                         . But the lone document Plaintiffs cite in support
             5    confirms that Dr. Lamego’s proposal was
             6                                JTX-184 at -173.13 Plaintiffs also ignore entirely the portion
             7    of the same document that expressly rejects Dr. Lamego’s proposal. See JTX-184 at -
             8    173                                                         Plaintiffs’ reliance (at 16-17)
             9    on JTX-185 and JTX-143 cannot save their argument, as both documents merely use the
           10     phrase                as a shorthand in a brief table entry. Nothing suggests either
           11     document is a discussion of a
           12                                                               . See Land Direct ¶¶ 51-53.
           13           Third, Plaintiffs argue (at 16-17) that Apple disclosed L5 to              . But the
           14     cited Apple internal email exchange (JTX-541) and               presentation (JTX-1156)
           15     do not mention                                  .14 Warren Direct ¶¶ 133-135. Consistent
           16     with the final ERS (JTX-181),                   presentation (JTX-1156) reinforces that
           17     Apple implemented
           18
           19                         See Land Direct ¶¶ 65-66 (JTX-1156 confirms that the plan conveyed
           20     to            was                                                                         ;
           21     Warren Direct ¶ 135 (“JTX1156 merely confirms Apple disclosed to                     … to
           22                                                                                ).
           23           As with L4, the record presents a stark contrast between the consistent testimony
           24     of Apple’s engineers, Dr. Lamego, and Professor Warren, on one hand, and Dr.
           25     13
                     Dr. Madisetti’s response to JTX-184 is to accuse the document’s author of
           26     “misquot[ing]” Dr. Lamego, 11/7 AM Tr. [Madisetti] 85, without providing any
                  concrete basis for such an assertion. Even Plaintiffs’ brief does not press this argument.
           27     14
                     Although JTX-541 could be read as referring to
                              , it did not disclose it—the relevant portion is an internal email exchange
           28     between two Apple engineers, not anything sent to               .
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             1    Madisetti on the other. Dr. Madisetti’s unsupported opinions are not remotely enough
             2    for Plaintiffs to meet their burdens on the various legal requirements applicable to L5.
             3           C.    Plaintiffs Have Not Made Out A CUTSA Claim For D1, D3, and D10
             4           Plaintiffs’ brief underscores that their misappropriation case for D1, D3, and D10
             5    is disconnected from Apple Watch. Plaintiffs target a single demodulation algorithm
             6    that Dr. Lamego proposed, but that Apple quickly rejected and that has never been used
             7    in any Apple Watch. Plaintiffs also failed to prove that they possessed any of D1, D3
             8    or D10 and—if Plaintiffs possessed D1 and D3—they disclosed D1 and D3 in patents.
             9           1. No Possession. Plaintiffs did not show that any product, document, or source
           10     code—or any combination thereof—proves they possessed all elements of D1, D3, or
           11     D10. A-PT Br. 26-28. Plaintiffs’ reliance on multiple references to show possession of
           12     D1, D3, and D10 (at 23-24, 27-28 and 30-31) cannot be reconciled with their assertion
           13     that Apple cannot do the same for the “generally known” inquiry. See A-PT Br. 28.
           14            As to D1, Plaintiffs have at least failed to show possession of
           15
           16
           17
           18                      see Sarrafzadeh Direct ¶¶ 42-43. Mr. Poeze’s (unexplained) testimony
           19     that
           20
           21
           22       . Moreover, as Mr. Poeze acknowledged on cross, he has never read D1 and so could
           23     not address the alleged secret. 11/5 PM Tr. 110:17-111:5 (agreeing he did not “discuss
           24     any of the alleged trade secrets” in his direct testimony or “attempt to connect the
           25     notebook … to any of the alleged trade secrets”). Plaintiffs also rely on Dr. Madisetti’s
           26     assertion that
           27
           28

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             1    See Madisetti Direct ¶¶ 180-182. The testimony amounts to Dr. Madisetti pointing to
             2    these technical terms and asking the Court to trust him about their meaning. By contrast,
             3    Dr. Sarrafzadeh explained that
             4                     and unlike Dr. Madisetti, Dr. Sarrafzadeh had support for his
             5    explanations. See Sarrafzadeh Direct ¶¶ 49-50; 11/12 AM Tr. [Sarrafzadeh] 62:20-63:8.
             6          Plaintiffs’ suggestion
             7
             8
             9
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           11
           12           As to D3, Plaintiffs failed to prove (at 27-28) they possessed at least the
           13
           14
           15
           16                          Poeze Direct ¶ 39; see 11/6 AM Tr. [Poeze] 11:4-15. As with D1,
           17     Plaintiffs also rely on page -935’s reference to                                    Plaintiffs
           18     did not prove that                                                . See supra pp. 16-17.
           19           Finally, Plaintiffs’ brief (at 30-31) never specifically explains how Plaintiffs
           20     supposedly possessed each of D10’s
           21     Tellingly, Plaintiffs ignores Dr. Sarrafzadeh’s testimony that Plaintiffs cannot use
           22
           23
           24
           25                                                                           . Plaintiffs’ brief (at
           26     30-31) does not even attempt to show how Plaintiffs possessed                                .
           27     Plaintiffs similarly fail to explain how
           28

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             1                      Compare Madisetti Direct ¶¶ 242-243 with Sarrafzadeh Direct ¶ 157.
             2          2. Generally Known/Insufficient Efforts to Preserve Secrecy. Plaintiffs have
             3    not proven that D1 and D3 were secret, nor that they took reasonable efforts to maintain
             4    them as secrets. A-PT Br. 28-30. Plaintiffs do not seriously dispute (at 25-26) that their
             5    Weber 2018 patent disclosed D1 in full. They argue only that it published after Dr.
             6    Lamego worked at Apple and that Dr. Sarrafzadeh supposedly “conceded” Weber 2018
             7    does not disclose a                        . That was not Dr. Sarrafzadeh’s testimony.
             8    Dr. Sarrafzadeh merely indicated that if Plaintiffs can establish they possessed a
             9                                              (as Dr. Madisetti asserted, see supra p. 16-17),
           10     then that means Weber 2018’s reference to a matrix (JTX-3584 at 17:44-54) discloses
           11                               . See 11/12 PM Tr. 14:5-23, 65:19-66:3. While Plaintiffs
           12     baldly assert (at 25) that Weber 2005 does not disclose “
           13                                       ” in one place, they do not dispute that Weber 2005
           14     discloses each component part. PFF ¶ 183; see also Sarrafzadeh Direct ¶ 62. Nor do
           15     Plaintiffs substantively dispute (at 28-29) that
           16                                                             . The Court already rejected the
           17     incorrect legal arguments (at 25, 28-29) that Apple cannot rely on combinations of
           18     references and must prove that each cited patent was well known. See supra pp. 4-5.
           19           3. No Use/Disclosure/Acquisition. Apple did not improperly acquire, use or
           20     disclose D1, D3, or D10. A-PT Br. 30-32. Plaintiffs’ discussion of misappropriation (at
           21     26-27, 29-30, 32) cannot obscure their fundamental problem: Apple never used Dr.
           22     Lamego’s demodulation proposal in any product,
           23                                                                                              .
           24     Plaintiffs concede that Apple developed its dark channel subtraction (“DCS”) algorithm
           25     before hiring Dr. Lamego, and that Apple Watch has continuously used only DCS since
           26     then. See, e.g., PFF ¶ 340. Plaintiffs assert without citation that “Apple recognized how
           27     valuable [D1, D3, and D10] are and attributed a continuous benefit to [them] over …
           28     DCS[],” id. ¶ 341, but they never identify any technological change traceable to Dr.

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             1    Lamego’s proposal.15 Plaintiffs instead allege (e.g., at 27) that Apple
             2
             3
             4                                                                                             .
             5    See PFF ¶ 340; AF-C ¶ 157. Apple did not make any change to its implementation of
             6    DCS as a result of this purported “benchmarking.” See AF-C ¶¶ 368, 386, 394.
             7    II.      APPLE DID NOT HAVE THE REQUISITE INTENT TO MISAPPROPRIATE
             8             A.    No Direct Misappropriation
             9             Plaintiffs’ October 2024 pretrial filings identified no specific theory for how
           10     Apple had acquired the alleged trade secrets through “improper means,” but they now
           11     contend Apple “used financial incentives to” induce Dr. Lamego to breach his
           12     contractual duty of secrecy to Plaintiffs. P-PT Br. 35. This theory requires Plaintiffs to
           13     prove, inter alia, Apple “intended to induce [Lamego to] breach” his contract. Little v.
           14     Amber Hotel Co., 202 Cal. App. 4th 280, 291 (2011). No affirmative evidence supports
           15     this theory of intentional misconduct—and the record contradicts it. A-PT Br. 33, 43-
           16     45. Apple offered Dr. Lamego higher compensation than most other engineers at his
           17     level for a sensible business reason: “he came from a much higher comp and title
           18     position at his previous company.” 11/8 PM Tr. [Hotelling] 57:23-58:15; see AF-C ¶
           19     13. Plaintiffs do not engage with this point or with testimony regarding the myriad
           20     instances Apple cautioned Dr. Lamego not to divulge confidential information. See,
           21     e.g., AF-C ¶¶ 12-13, 15-17; Hotelling Direct ¶¶ 49-54; 11/7 PM Tr. [Lamego] 130:3-11.
           22              B.    No Respondeat Superior Liability
           23              Plaintiffs attempt (at 34-35) to revive their meritless theory that Apple had the
           24     requisite state of mind because Dr. Lamego knew or should have known that he
           25     breached his duty of secrecy (though he did not). This Court has definitively rejected
           26     this legal argument and instructed Plaintiffs not to raise it again. Dkt. 1901 at 18 n.7.
           27     Plaintiffs’ latest request for reconsideration continues to rely on the same basic cases
           28     15
                       Plaintiffs failed to prove the proposal conveyed D1 or D3. See AF-C ¶¶ 176-182.
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             1    they were aware of in April 2023, none of which provides precedential support for their
             2    position. See A-PT Br. 34-35; Dkt. 2414-1 at 1-2. Plaintiffs’ two new cases actually
             3    support Apple’s position that a corporate defendant is liable for misappropriation only
             4    when an agent other than the alleged conveyor of trade secrets knew or had reason to
             5    know about the misappropriation. See Extreme Reach, Inc. v. Spotgenie Partners, LLC,
             6    2013 WL 12081182, at *7 (C.D. Cal. Nov. 22, 2013) (CEO); Advanced Fluid Sys., Inc.
             7    v. Huber, 295 F. Supp. 3d 467, 471, 485-486 (M.D. Pa. 2018) (CEO and sales manager).
             8          But through hours of questioning, Dr. Lamego consistently testified that he did
             9    not believe—and has no reason to believe—he conveyed any supposed trade secrets to
           10     Apple. A-PT Br. 35; see generally 11/7 PM Tr. [Lamego] 9-126. While Plaintiffs cite
           11     this Court’s findings in True Wearables about the startup Dr. Lamego operated after
           12     leaving Apple, the rulings in that case “shed little, if any, probative value,” Dkt. 1469 at
           13     1, on his conduct at Apple. At Apple, he never disclosed any of Plaintiffs’ trade secrets.
           14           C.     No Indirect Misappropriation
           15           Plaintiffs have not presented evidence establishing that any Apple employee knew
           16     or should have known Dr. Lamego was conveying Plaintiffs’ confidential information.
           17     A-PT Br. 35. Plaintiffs now identify just a single Apple employee (Mr. Hotelling) that
           18     they argue knew or should have known that Dr. Lamego had conveyed Plaintiffs’ alleged
           19     trade secrets. P-PT Br.32; Dkt. 2430 at 88. Plaintiffs do not even attempt to address the
           20     myriad contrary pieces of evidence establishing that Apple in general and Mr. Hotelling
           21     in particular relentlessly instructed Dr. Lamego not to divulge Plaintiffs’ confidential
           22     information. See supra p. 19. And they ignore Dr. Lamego’s acceptance of Apple’s
           23     Intellectual Property Agreement (JTX-3044) and Business Conduct Policy (JTX-4181),
           24     his counseling on Apple’s policies from Mr. Hotelling, 11/7 PM Tr. [Lamego] 100:4-
           25     16; Hotelling Direct ¶ 49, and Dr. Lamego’s written reassurances to Mr. Hotelling that
           26     he had “exercise[d] extra care to avoid IP conflicts” in his drafting
           27     that allegedly conveyed D1, D3, and D10, JTX-3050 at -213.
           28           The documents Plaintiffs do cite are irrelevant or unremarkable. For instance,

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             1    while Plaintiffs claim (at 5) that Dr. Lamego disclosed “all the asserted trade secrets” in
             2    a single chart, the page they cite merely includes a few high-level terms (including the
             3    basic concept of “demodulation”) that are far from the detailed, purported secrets at
             4    issue. See JTX-143 at -568. Plaintiffs’ assertion (at 33) that Mr. Hotelling “determined
             5    that Lamego was likely to disclose trade secrets and insulated Apple’s trade secrets but
             6    continued to use Lamego as a ‘consultant’” is misleading. In the June 2014 email that
             7    Plaintiffs reference, Mr. Hotelling rejected a colleague’s suggestion to sideline Dr.
             8    Lamego (as a “consultant”) and asked her to put Dr. Lamego on notice that he should
             9    be engaging in “tactical hands-on work” if he wanted “a productive future at Apple.”
           10     JTX-15 at 1-2; id. at 1 (another employee stating later in the chain that it “[s]ounds like
           11     [Hotelling] would like [Lamego] to have another chance”). Moreover, while Plaintiffs
           12     try to pair the June 2014 email exchange with a snippet of Dr. Lamego’s testimony to
           13     imply that Apple chose not to expose Dr. Lamego to Apple confidential material toward
           14     the end of his employment, P-PT Br. 6, that is both incorrect (the cited testimony refers
           15     to shortly after Dr. Lamego was hired) and immaterial (the undisputed evidence
           16     establishes that Apple was taking extra steps to be “very careful” to avoid inadvertently
           17     learning Plaintiffs’ confidential information, 11/5 PM Tr. [Lamego] 97:7-14, 100:4-16).
           18     III.   THE STATUTE OF LIMITATIONS BARS PLAINTIFFS’ CUTSA CLAIM
           19            Plaintiffs’ CUTSA claim is not just meritless, but also time-barred. A-PT Br. 36-
           20     39. There can be no meaningful dispute that by the end of 2014, Plaintiffs had at least
           21     a reason to suspect what they now claim is misappropriation (though it is not remotely
           22     that). Plaintiffs do not dispute that their January 2014 warning letter to Apple articulated
           23     their “‘suspicion that [trade secrets] theoretically could be shared.’” P-PT Br. 38
           24     (quoting Dkt. 606 at 7). While the letter did not assert Apple had taken trade secrets, it
           25     undeniably articulates suspicion that Dr. Lamego would convey their purported trade
           26     secrets should Apple “employ Mr. Lamego in an area that … involve[s] healthcare
           27     technology, including … the measurement of physiological information.” JTX-2937 at
           28     -094. That suspicion should have been further heightened later in 2014, when Plaintiffs’

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             1    then-CEO Joe Kiani purportedly heard “[Cristiano] Dalvi’s representation that Apple
             2    had attempted to coerce Lamego into divulging trade secrets.” Dkt. 2348 at 2. That
             3    “Kiani believed Dalvi,” P-PT Br. 37, means that (in this Court’s words) Dalvi’s
             4    statement “potentially should have triggered an investigation,” Dkt. 2348 at 2.
             5          A reasonable investigation would have produced facts to confirm Dr. Lamego had
             6    worked on optical sensors by at least March 2016, when the ’052 patent application
             7    published. The application “public[ly]” “link[ed] Dr. Lamego to physiological sensors
             8    at Apple,” 11/5 PM Tr. [Kiani] 16:10-15, including for measurement of “blood
             9    oxygenation,” JTX-1239 at 1:53. Had Plaintiffs taken the very basic step of monitoring
           10     patent filings for Dr. Lamego’s name after sending the January 2014 letter and/or hearing
           11     Mr. Dalvi’s statements, that “would [have] produce[d] facts sufficient to confirm th[eir]
           12     suspicion” that Apple employed Dr. Lamego in a field they asserted would necessitate
           13     misappropriation of trade secrets. Dkt. 606 at 3. Plaintiffs’ assertion (at 38) that the
           14     ’052 patent did not “disclose[] any trade secret” is immaterial, as the ’052 patent
           15     provided the type of proof Plaintiffs claimed they need to establish misappropriation.
           16     “‘[S]moking gun’ evidence of misappropriation” is not required; courts “look to whether
           17     the plaintiffs have reason to at least suspect that a type of wrongdoing has injured them.”
           18     Cypress Semiconductor Corp. v. Superior Court, 163 Cal. App. 4th 575, 586-587 (2008).
           19     IV.   PLAINTIFFS ARE NOT ENTITLED TO ANY RELIEF ON THEIR CUTSA CLAIM
           20           A.     No Declaratory Relief
           21           Plaintiffs cannot seek declaratory relief as it is not identified in the PTC order.
           22     See Dkt. 2280 at 11-13, 27 (modification only “to prevent manifest injustice”).
           23           B.     No Injunction
           24           1. Waiver. Apple has repeatedly argued Plaintiffs waived their right to seek an
           25     injunction under FRCP 37(c) and by abandoning their request for monetary remedies.
           26     E.g., Dkt. 2182 at 2-3; Dkt. 2285 ¶¶ 361-368; Dkt. 2294 at 3-6. This Court instructed
           27     the parties to brief both waiver issues. 11/13 Tr. 143:7-144:4. Apple did so. A-PT Br.
           28     39-42. Plaintiffs did not meaningfully comply—their brief never mentions FRCP 37(c)

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             1    and their discussion of the eBay (at 45-46) only baldly asserts that legal remedies are
             2    generally insufficient. Plaintiffs cite FRCP 54(c), but that rule merely permits granting
             3    relief not pled—neither it nor Plaintiffs’ cases (at 47-48) address FRCP 37(c). Plaintiffs
             4    also (at 48) note that an injunction was mentioned in the pretrial conference order, but
             5    Apple objected in the operative order. Dkt. 2280 at 3 n.4. And “the parties’ joint pretrial
             6    order” cannot “cure[] any deficiencies” in a party’s disclosure requirements under FRCP
             7    26. Waymo LLC v. Uber Techs. Inc., 2018 WL 466510, at *1 (N.D. Cal. Jan. 18, 2018).
             8    Finally, Plaintiffs contend they identified “supporting facts” in response to Apple’s
             9    interrogatory on injunctive relief, but only cite passages discussing Plaintiffs’ damages
           10     case. See Dkt. 2181-2 at 10-11, 15-17.
           11           2. eBay. Plaintiffs fail (at 44-47) to justify an expansive order “enjoin[ing] Apple
           12     from making or selling Apple Watches that embody L4 or L5.”16 First, Plaintiffs do not
           13     try to explain how the monetary remedies they sought until recently could not
           14     compensate for harm they supposedly suffered—and cannot explain how waiving those
           15     remedies does not preclude an injunction claim. Equitable principles forbid Plaintiffs
           16     from “voluntarily cho[osing] to forego a legal remedy” to create the impression that “no
           17     adequate legal remedy exists.” Bennett v. Isagenix Int’l LLC, 118 F.4th 1120, 1129 (9th
           18     Cir. 2024). Nor can they square their suggestion that monetary relief can never remedy
           19     future harm with eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 393-394 (2006), which
           20     rejects the approach that an injunction should almost always be granted when liability is
           21     found. See A-PT Br. 42 (distinguishing Universal, Equate, and Trans-World).
           22           Second, Plaintiffs’ assertion that irreparable harm can be presumed based on
           23     liability was rejected by the Ninth and Federal Circuits as inconsistent with eBay. A-PT
           24     Br. 41 (citing Citcon and Robert Bosch). The district court cases Plaintiffs rely upon (at
           25     45) do not address either Citcon or Robert Bosch. And beyond the presumption,
           26     Plaintiffs cannot articulate a non-speculative basis for finding that they have suffered an
           27     16
                    Plaintiffs do not assert (at 47) that any liability arising from D1, D3, or D10 would
                  justify enjoining “making or selling Apple Watch,” which makes good sense—Apple
           28     indisputably has never used Dr. Lamego’s demodulation proposal in Apple Watch.
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             1    irreparable injury. See A-PT Br. 40-41. This Court has already observed the lack of any
             2    “persuasive” evidence that “misappropriation … weakened consumer interest in
             3    [Plaintiffs’] products,” Dkt. 2348 at 2, and neither Plaintiffs’ brief (at 45) nor proposed
             4    findings (PFF ¶¶ 389-401) cite any fact in evidence to support their assertions about
             5    alleged “chilling open engineering collaboration” or a “further risk of dissemination.”
             6          Third, Plaintiffs have not established (at 46-47) that either the balance of the
             7    hardships or the public interest favors taking the extreme step of enjoining Apple from
             8    “making or selling Apple Watches that embody L4 or L5.” Plaintiffs have failed to
             9    establish a factual link between
           10            (L4) or a single short circuit (L5) and the Blood Oxygen feature, let alone Apple
           11     Watch’s optical sensor or selling the Watch as a whole. A-PT Br. 42-43. Plaintiffs are
           12     also wrong (at 46) to assert that “Apple witnesses confirmed Apple would suffer no
           13     hardship if enjoined from using [L4 or L5].” Apple’s employee witnesses could not
           14     provide a complete answer to that question because they were not permitted to read the
           15     purported trade secrets. As Mr. Hotelling put it, Apple would not be harmed by
           16     enjoining Apple from using Dr. Lamego’s ideas only if the injunction “correctly
           17     identified what [Dr. Lamego] contributed.” 11/8 PM Tr. [Hotelling] 95:10-14.
           18           C.     Any Attorney’s Fees Award Should Be To Apple
           19           There is no evidence of willful and malicious misappropriation. A-PT Br. 43-44.
           20     Plaintiffs’ argument (at 49-50) rests on the same basic materials they (unsuccessfully)
           21     rely upon to establish intent. See supra pp. 19-21. Because that evidence does not
           22     establish intent, it logically cannot rise to the type of conduct necessary to establish
           23     willfulness or maliciousness. Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App. 4th 21, 66-
           24     67 (2005). Finally, Plaintiffs’ suggestion (at 50) that a discretionary fee award would
           25     be appropriate because “Apple … earned significant profits from its misappropriation”
           26     has absolutely no factual basis in the record—Plaintiffs have never established a causal
           27     connection between the slivers of technology claimed by the purported secrets and any
           28     Apple Watch feature, much less Apple Watch itself. See 11/7 AM Tr. [Kinrich] 114:12-

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             1    17 (“I have not analyzed the causation from the trade secrets themselves.”); Webster
             2    Direct ¶ 14. Any fees award should be to Apple, not Plaintiffs. See A-PT Br. 45.
             3    V.    PLAINTIFFS HAVE NOT PROVEN THE INVENTORSHIP AND OWNERSHIP CLAIMS
             4          Plaintiffs have not proven co-inventorship or co-ownership of the disputed
             5    patents. A-PT Br. 46-49. As to inventorship, Plaintiffs concede that Mr. Diab at most
             6    taught Dr. Lamego prior art. With respect to the ’052 and ’670 patents, Plaintiffs assert
             7    (at 43) that Mr. Diab should be a co-inventor because he supposedly “taught Lamego
             8    about using reflective surfaces on sensors” in connection with development of Masimo’s
             9    TF-I sensor—a sensor was released more than a decade before the August 2014 priority
           10     date, see Warren Direct ¶¶ 161, 163; see also, e.g., PFF ¶ 344 (relying on Dr. Lamego’s
           11     work on TF-I). Similarly, for the ’095 and ’390 patents, Plaintiffs assert (at 44) only
           12     that Mr. Diab’s contribution is that he “taught the subject matter” of an already issued
           13     patent (the ’272 patent) to Dr. Lamego. Neither showing establishes inventorship. “[A]
           14     purported inventor must show that he … ‘did more than merely explain to the real
           15     inventors well-known concepts and/or the current state of the art.’” Acromed Corp. v.
           16     Sofamor Danek Grp., Inc., 253 F.3d 1371, 1379 (Fed. Cir. 2001); see also AF-C ¶ 476.
           17           As to ownership, Plaintiffs primarily argue (at 32, 41-42) that Dr. Lamego could
           18     not have come up with his contributions to the ’095, ’390, and ’754 patents in the short
           19     time he worked at Apple. But contemporaneous evidence—including a figure in an
           20     Apple patent, a MATLAB script, and a figure created during an Apple brainstorming
           21     session—shows he did. See A-PT Br. 47-49. Such quick work is “common” because
           22     new engineers provide a fresh perspective when exposed to the details of Apple’s
           23     products and prototypes. Hotelling Direct ¶ 70. That happened with the other two
           24     disputed patents (the ’052 and ’670 patents). Dr. Lamego proposed applying reflectivity
           25     to the back of Apple Watch—an idea he could not have had at Cercacor, where he never
           26     worked on a wrist-worn device. Warren Direct ¶ 164.
           27                                        CONCLUSION
           28           This Court should grant judgment in Apple’s favor on Plaintiffs’ claims.

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             1
             2    Dated: January 13, 2025              Respectfully submitted,

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             1                            CERTIFICATE OF COMPLIANCE
             2          The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3    brief is 25 pages long, which:
             4          ___ complies with the word limit of L.R. 11-6.1.
             5           X_ complies with the 25 page limit set by court order dated November 26,
             6           2024.
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